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UNITED STATES DISTRICT COURT
SoUTHERN DISTRICT 011 NEW YoRI:<»_:._ `5

JEROl\/lE FORDE gill

 

 

 

 

Write the full name of each plaintiff.
(lnclude case number if one has been
assigned)

-against-

COMPLAINT
BUREAU OF PRlSONS, 320 FlRST STREET, NW
nw ‘S| mds l ON» BG 2653 li UN|G@R (| el eltme| {E)’ Do you Wantajury trial?
R. A. PERDUE;CHARLES SAivluELS, JR.; NEvaoN m Yes g NO
l'\l:NL)lL:; L)l'<. /-\NUl:l'(bUN (l“bl blLlVlUl'<t:); l"bl
GlLl\/|ORE l\/|ED|CAL STAFF

 

 

 

Write the full name of each defendant. |f you need more
space, please Write "see attached” in the space above and
attach an additional sheet of paper With the full list of
names. The names listed above must be identical to those
contained in Section ll.

 

NOT|CE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor's initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 1/9/ 17

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I. BASIS FOR ]URISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. ln a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
Federal Question
Diversity of Citizenship

A. If you checked Pederal Question

Which of your federal constitutional or federal statutory rights have been violated?
Fifth & Eighth Amendments, 18 U.S.C. SECTlONS 241 & 242

 

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , Jerome Ford ’ , is a citizen of the State of
(P|aintiff's name)

 

New York

(State in which the person resides and intends to remain.)

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

lf more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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lf the defendant is an individual:

The defendant, R~-A Perd ue , is a citizen of the State of
(Defendant's name)

West Virginia

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

|f the defendant is a corporation:

The defendant, BO P/U N |CO R , is incorporated under the laws of
the State Of District of Columbia

 

 

and has its principal place of business in the State of DiStriCt Of Columbia

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

lf more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

 

 

 

 

 

Jerome Ford

First Name i\/liddle initial Last Name
307 Beach 66 Street, Apt. #2

Street Address

Arverne New York 1 1692-1427
County, City State Zip Code
(724) 761 -6631

Telephone Number Email Address (if available)

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. lf the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant l\/lake sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

Defendant 1: R- A. Pel' due
First Name Last Name
Warden
Current Job Title (or other identifying information)
201 FCl Lane
Current Work Address (or other address where defendant may be served)
Glenville West Virginia 26351
County, City State Zip Code
Defendant 2; Charles Samuels, Jr.
First Name Last Name

Director of Bureau of Prisons
Current lob Title (or other identifying information)
320 First Street, NW

Current Work Address (or other address where defendant may be served)

 

 

 

 

Washington DC 20534

County, City State Zip Code
Defendant 31 Newton Kendig

First Name Last Name

BOP l\/ledical Director

Current Job Title (or other identifying information)
320 First Street, NW

Current Work Address (or other address where defendant may be served)
Washington DC 20534
County, City State Zip Code

 

 

 

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Defendant 4; Dr. Anderson
First Name Last Name
l\/ledical Doctor at FCl Gilmore
Current Job Title (or other identifying information)
201 FCl Lane
Current Work Address (or other address where defendant may be served)
Glenville, West Virginia 26351
County, City State Zip Code

 

 

 

 

III. sTATEMENT OF CLAIM
place($) Ofoccurrence; FCl Gilmore, West Virginia

 

Date(s) of occurrence: J Une 24, 2013

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

On June 24, 2013 at or around 10:30 am, while performing my job duties as a Unicor

"crushed" after a 500 lb metal drum fell on it. After my finger was crushed and pretty
much severed off from the rest of my right index finder, l immediately ran to the nearest

 

contacted the "l\/ledical staff", he didn‘ t do anything to assist me in stopping the bleeding,
nothing he was taught to do` ln situations such as my injury; he just sat and watched as l

 

l\/loore was contacted and told to escort me to the medical department where when l got
tnere, P. A Lenman met me at tne door and only gave me a small gauge pad to wrap
around mv crushed danolino rioht index finder; then escorted me to the "Receivino &
Discharge unit where l waited an additional one (1) hour before l was transported to an

 

 

hospital staff immediately ran an l ..V into my arm, and l had to sit and wait approximately
45 minutes for x-rays of my lnjurles. l was operated on June 25, 2013 at approximately

 

index finger that had been detached Dr Sneed informed B. O. P staff that l needed to

 

index finger, the Warden and FCl staff refused to let me stay, and a result l lost my finger

 

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On June 27, 2013, l was transferred back to FCl Gilmore with post surgical treatment

post surgical instructions which allow me to save the portion that Dr. Sneed had

 

re- -attached, but instead, give me the wrong medication, which caused an adverse

 

he confirmed that FCl Gilmore was not giving me the correct medication, causing me to
lose the portion of my right index finger that he (Dr. Sneed) had re- -attached l was

 

 

denied proper medical care and was purposely given the wrong medication with the
intent to cause bodily harm to my person. (See chronological events attached and
picturesi When l saw Dr. Sneed again and informed him of what the FCl l\/ledical staff
did in giving me the wrong medication he confirmed it, and put me back on the correct

 

 

finger that had initially been saved!

 

IN]URIES=

|f you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

Lost part of my right index finger because prison staff failed to let me stay at the hospital
WWMWWWWHMW
for proper medical care; the prison medical staff did not follow the strict instructions of
physician Dr. Sneed who performed the "emergency surgery that re~attached the portion
of my right index finger that had been detached l didn't receive any proper medical
attention from the prison medical staff at FCl Gilmore, and almost died from being given
the wrong medication. See attached chronological events and pictures

 

 

 

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

l am requesting to be compensated in the amount of $10,000,000.00 for past and future
suttering, ior mental anguisn and lost ot iimb; requiring the defendant UNit,ui< to tuiiiii
the agreed upon compensation for my injuries. l am requesting that l be compensated for
the injuries sustained for the rest of my life.

 

 

 

 

 

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V. PLAINTIFF'S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing laW; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies With the requirements of Federal Rule of Civil
Procedure 11.

l agree to notify the Clerk's Office in Writing of any changes to my mailing address. l
understand that my failure to keep a current address on file With the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. lf seeking to
proceed without prepayment of fees, each plaintiff must also submit an lFP application.

 

 

 

 

 

 

 

iviay 17, 2017

Dated Plaintiff’s Signature

Jerome Ford

First Name l\/'lidd|e initial Last Name
307 Beach 66 Street, Apt. #2

Street Address

Arverne NY 1 1692-1427
County, City State Zip Code
(347) 651 -2774 jackainsworth50@yahoo.com
Telephone Number Email Address (if available)

l have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
l:l Yes lZ No

lf you do consent to receive documents electronically, submit the completed form with your
complaint. lf you do not consent, please do not attach the form.

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EXIIIBI'I`S

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ae»AolL:g.Oi€ INJURY REPORT - INMATE - PART 1 cDFRM

NOV 07
U . S . DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
»' ' ” ` ' ' ` ` §WEKW'CMMBML¢ $..~

       

 

SEE DISTRIBUTION AND SPECIAL INSTRUCTION AT THE TOP OF THE NEXT PAGE FOR INMATE COPY

 

 

 

l. Institucion 2. Name of Injured 3_Register Number
?CI Glimer Jerome Ford 90252~054

4. Injured's Ducy Assignment 5. Injured’s Duty Hours 6v Date and Time of Injury
?-Unicor-S 7:30 am- 3:30 pm 06-24~2013 10:53 am

 

 

7. Where Did Injury Happen (he specific as to location) 8. Date and Time Injury Was Reported

Unicor sand blast booth 96-24-2013 10-54 am

 

9. In Your Opinion, Was This Injury: (a) §§ work Related [: Non Work Related

 

(b) LJ Institution Industry ij Recreation :j Program or Activi:y
other {explain)
10. To Whom Was Injury First Reporced ll. Part of Eody Involved lleft knee, etc.) 12. Kind of Injury
(burn, cut, etc.}
Jeremiah Mohr Industrial Specialisc Right index finger pinCh/CUC

 

 

 

13. Injured's alleged witnesses to Injury (staff and inmates)
Joseph Beaver 05393-070

tement As To How Injury Happened. Include Injured’s Recommendation for

14. Injured's Brief Sta
tinue on additional blank sheets, if necessary.i

?revention. (Con

® Injured’s Signature and Bace:

Include: a. Job Training Record, b. Safety Equipmenc ?rovided,

15. Supervisor’s Seatement 4 Mhsc
d. whether Proper Guardinq Used, e. Corrective §ction Taken.

c. whether Safety Equipment In Use,
(Continue on additional blank sheets, if necessa:y)
Inmate Jerome Ford was observing inmate Joseph Beaver operating a fork lift attempting
drum full of steel blast media; The steel drum started`to shift unexpectedly,the operator ,inmace Joseph
Beaver instructed inmate Jerome Ford to "stay back". Inmate Jerome`Ford rushed in to cry to stabilize
the drum. ?he drum weighing over 10001bs. continued to shift and pinched/cuc the right index finger of
inmate Jerome Ford. Inmace Ford-was not wearing the issued work gloves at the time of the incident,he

was however wearing alliocher issued personal proteccive equipmenc_

co empty a steel

 

 

® Supervisor’s Signature, Title and Date;

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,):\"`» 7_,’7'!. , li w [n/' = ' v l
, goswai\ rim -://j , bia/mad 5?§70.¢¢1;7 C?/Z cit/206

17. This Injury Required:

16. Medicel Desc¥iption of Injury
a. [: No Medical Attention

,¢“*"’),. . ' »"~' `» ».1
J»’»?j;»’~,a;?~f! /*'5"“5" _/T;"Zfi:l’}-’?`Aw"t r,‘~"? 5 _
' 7 _ b. ' Minor First Aid
ji°/,§’/§j, . _ ' _ _ _
c. [; Hospitalization - rrom to

d. [] work Time Last ~ from to

l
-"

 

e. [; Gther (explain)

Total Last Time Days:

 

Record Copy - Inmate file; Copy ~ Safety Office; Copy » Inmate

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hi
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Q
L;i

(This form may be replicated via WP) Replaces BP~l€O.Dl§, Parr l, 0

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BP-AOlL;G . 016 INJURY REPORT '~ INMA‘I‘E ~ PART l CDERM

HO'\/ 07

U . DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
.,'.'., '- ` ` ' ¥’B"! EK&XVHMBH’§YQV___;“W?’Z£E£§

     

 

ON AND SPECIAL INSTRUCTION AT THE TOP OF THE NEXT ?AGE FOR INMATE COEY

 

 

 

 

 

 

 

 

l. Enstitution 2. Name of Injured 3.Register Number
FCl Gilmer Jerome Ford 90252-054
€. lnjured's Duty Assignment 5. Injured’s Duty Hours 6. Date and Time of Injury
:~Unicor-Q 7:30 am- 3;30 pm 06-24-2013 10:53 am
7. deere Did Injury Happen (be specific as to location) 8. Date and Time Injury was Reported
Unicor sand blast booth 05_24_7013 lO.SA an
9. fn Your Opinion, Was This Injury: (a) §§ Work Related C: Non Work Related

(b) ;; lnstitution §§ Industry ij Recreation -:] Program or Activity

Orher (explain)

 

 

 

 

lO. To Whom Was Injury First Reported ll. Part of Body Involved (leit knee, etc.) 12. Kind of Injury
(burn, cut, etc.i

Jeremlah Mohr Industrial Specialist Right index finger pinch/cut

13. Injured’s alleged Witnesses to Injury (staff and inmates)

Joseph Beaver 65393-070

l4. Injured’s Brief Statement As To How lnjury Happened. Include lnjured’s Recommendation for
Prevention. (Continue on additional blank sheets, if necessary.)

@ Injured's Signature and Date:

 

lS. Supervisor’s Statemenr ~ Must Include: a. Job Training Record, b. Safety Equipment °rovided,
c. Whether Sefety Equipment In Use, d. Whetber Proper Guarding Used, e- Corrective ection Teken.
(Continue on additional blank sheets, if necessary)
Inmate Jerome Ford was observing inmate Joseph Beaver operating a fork lift attempting to empty a steel
drum full of steel blast media. The steel drum started to Shift unexpectedly,the operator ,inmate Joseph
Beaver instructed inmate Jerome Ford to “stay back". Inmate Jerome Ford rushed in to try to stabilize
the drum. The drum weighing over lOGOlbs. continued to Shift and pinched/cut the right index finger of
inmate Jerome Ford. Inmate Ford was not wearing the issued work gloves at the time of the incident,he
was however wearing all other issued personal protective equipment.

® Supervisor's Signature, Title and Date:

NQTICE

and feel you have some degree of
Inmate eccident
Community

If you sustained an injury as a result of a work assignment,
impairment at the time of your release from federal custody, you may file a claim for
Compensation. Claims may not be filed until 30 days prior to release or transfer to a
Treatment Center. Claims must be made within 60 days following release from the institution when
circumstances preclude submission prior to releasev

im you must contact the Institution’s Safety Manager not less than 30 days prior to

sier to a community Treatment Center. The Safety Manager will assist you l
'm and will arrange to have your injury medically evaluated,

 

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L’>$'D

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a
Reiusal of appropriate medical treatment or failure to file a claim prior to release or transfer
Treatment Center may result in forfeiture of accident compensation benefits resulting
final physical examination in connection with an Inmate

in the forfeiture of all rights to compensation benefits and

 

to a Commun'
from your injury. Failure to submit to a
eccident Compensation Claim shall result
future medical treatment.

Record Copy ~ Inmare riley Copy » Safety Office: Copy - Inmate

(?his form may be replicated via WF) Replaces BP~lQO.UlE, Part l, of $EP 05

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x

MEDICAL TREATMENT LOG

 

 

This incident/medical records log is being kept by myself, so
as to accurately document and reflect the extreme poor medical care
that l will have suffered from at the hands of the Health Service
Prison employee’s at the Federal Correctional lnstitution-GILMEP;
After l was severly injured while performing my job duty in the

UNlCOR Priscn lndustries Factory in 2013,

Qn 06/24/13, at or around 10:30 a.m,, while l was performing

p-\
.

my job duties as a Unicor inmate prison "maintonance" worker.
My (r) index finger was "severely and horrible crushed" after
a 500 lb metal drum fell on it?
Atw
2. After my finger was crushed and pretty much severed off€the rest
of my finger. I immediately ran to the nearest B.G.P. Unicor Fac~
tory Employee...Officer Moore. Officer Moore responded by calmly
contacting the prison medical department using his hand held rs~
dio...informing them that an inmate had just sustained a very
serious injury down within the factory and that they should send
someone down their ASAP! After;Officem Moore relayed my medical
emergency to the Prison medical service persom§d. He failed to
even assist me with any help in trying to compress my wound with
a towel or anything. He sat and just watched me profusely bleed
from my severe injury.,q lt then took foicer Moore and additioaal
10 more minutes before he readied himself to escort me/walk me
(bleeding profusely) across the prison compound (100 yards ) tG
the prison medical center to receive medical treatment for my
severe injury. Once l was in the medical department, The prison
P_A. (Physcian Assistant) Lehman met me at the door and then
gave me a very small gause pad to wrap on or around my crushed
finger and escorted me to THE R & D department...where l waited
an additional hour for the prison guards to gain authorization
to transport me to the nearest hospital for emergency treatment.

I was given a tetanus shot HBH%W with a pain reliever,
eden§

C%)

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The-F.C.I. Gilmer correctional guards decided that my injury was not
Serious enough to warrant an "Air Lift" by helicopter to the hospital.
So, they drove me by van to Stonevwall Jackson Memorial Hospital,...

in handcuffs,..which now prevented me from being able to apply any
pressure on my nearly severed finger.,.and I just road in the van with
my finger openly bleeding on the floor of the van. This Van transport
to Stonewall Jackson Memorial took about 45 minutes. Once l arrived

et the Hospital...l was finally able to receive the proper professional

medical care that I deserved.

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z After my arrival to Stonewall Jackson Memorial Hospital. Me~
dical staff immediately ran an I.V. in my arm, then they had me sit
and wait 45 minutes to X»Ray my injuries. The Admissions doctor then
informed me that the B=O.P. employees told him that l was too be admitted
into the hospital and scheduled for surgery on my injured (r) index fin~
ger the next day at é:30 p.m. From the time of my arrival at the hospital

emergency dept, l was not given any pain medication by any staff members.

0n 06/25/13, at or arod§d 6:30 p,m., Stonewall Jackson Memorial Hos*
pital Staff/Surgeon»~Dr‘ S¥;e§l~mperformed the emergency surgery on my
finger‘..in an attempt to "re~attach" the severed end back onto the main

part of my (r) index fingera

l stayed 3 full days~~convalescing from the emergency surgery, And
on 06/27/13$ l was transported back to F.C.I. Gilmer"»with the post sur~
gical treatment orders for F.C.Iy health services to follow and obey:
(l). Prison health services employees were given the instructions to..?..J
(a) keep the surgery area clean and ELEVATED!,..‘(b) to bring me back to

the hospital for a post~surgery follow~up.. one week from the date of sur~

gery!

On 07/1/13, the medical staff at F.C.I. Gilmer "REFUSED" to comply
with or obey the surgical doctors post~surgery orders and instructions
and bring me back to him for after care "one week after the initial sur"
gery...and they further "refused" to give me anything to elevate my arm/

hand as the post~surgical treatment orders required.

On 07/02/13.".Prison Officials finally decided to transport me back
to Stonewall Jackson Memorial Hospital for my post~Surgery/after care

treatment by the Orthopedic surgical doctor on my (r) index finger/hand.

The Orthopedic Doctor (expert) then informed me that a lh§Qinch of
the re~attached finger was still "black"p.¢which was a sure indication
that the flesh or tissue was DEAD!. The doctor then asked me if the pri-
son health service employees were giving me the antibiotics as they were
instructed to do so. At that time, l informed the doctor that they were

not! The doctor then voiced that it was extremely important that l be

op

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administered the antibiotics and pain meds as instructed or else serious
complication could result; So, the doctor then wrote out new instructions
for the prison health service employees...instructing them that i need to
be given the pain meds and antibiotics without fail until he see's me in
another week, The doctor specifically instructed F¢C.l. Gilmer medical
staff to do: (1) continue all medications in a timely fashion...(Z) to
change the surgical bandages "every two days" so as to prevent gangrene
spreading any further up my finger=:‘(3) F.C,I. Gilmer medical staff were
further "ordered" to "MONITOR" my injury "daily" for any indication of

any "spreading of infection",,,and IF there is an indication that infection
is spreadingu,,TO IMMEDIATELY RUSH ME BACK TO THE HOSPITAL FOR EMERGENCY
TREATMENT!

0n 07/03/13...F.C,I. Gilmer medical staff "REFUSED" to follow and

or obey the surgical doctors post»surgica] treatment Orders/Instructions.
F.C.Io Gilmer did not provide me with the vital antibiotics and pain medi-
cations that had been specifically ordered on the date of my release from
in patient status. F.C.l. Gilmer only provided me with Tylenol~3 headache
pain medication...which was'nt the medication that the surgical doctor pre~
scribed and ordered that l be given¢ F.C.lo Gilmer health service employees
also "REFUSED" to administer the necessary and vital "antibiotic's" that l
required to prevent the gangrene from spreading further up my finger! Prison
Employees "discontinued" all hospital ordered medications the day afteriwnmé%§¢

On 07/04/13,$.1 woke up in excruciating pain¢. went to the prison sick
call/medical building for help...made my complaints known.;.yet I was re~
fused any type of medical service =.in fact, l was told that they could'nt

help me nor solve my problems whatsoever!

On 07/04/13...at or around 12 noon.,:l had my unit (Am3) officer -----
McCartneya recalled over to medical to see if they would comply with my
surgical doctors "post»operation treatment" instructionS/Orders...and at
least "change" my surgival bandages every two days (as instructed). Health
service employees informed Officer McCartney to mind his own business as
a unit officer and that they would not be changing any such bandages for
the inmate,,..me! This response deeply trouble me...because l could feel

that the infection was getting worse by the amount of pain l was always in/

653 9

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On 07/05/13...Could'nt sleep at all last night because of the pain and
discomfort of my (r) index finger being "inflamed" from "gangrene infec-
tion." Prison Officials at F,C.lj Gilmer refuse to provide me with the
proper and just medical post-surgical treatment that the treating physician
had ordered. l don't know what else that i can do to get the medical staff
here to obey or follow the surgical doctors post surgery orders / treatment.
lram afraid that because of this deliberate indifference to my medical post~
surgical treatment orders, that l will ultimately lose my entire (r) index

finger,quue to the spreading of the gangrene=

07/05/13..,at 12:30 noon.¢.l went to the prison health service department to
request my post surgical treatment medications that the hospital had in-
structed them to administer to me= Health Service worker; Ms. Carson, in~
formed me that it took the prison health service staff 4 entire days to find
the "lost" surgical doctors post»surgery orders for my continue medications
of antibiotic§s and pain pills.,.,she further reinterated that it was her bee
lief, that that was the reasons why my-antibioticls and pain:medsihad been
prematurely terminated and otherwised withheld from me for 4 to 5 days,,°..
they had lost the doctors medical script that had authorized and instructed
for them to continue both critical meds. Then Mr. Noveltyj who is another
prison health service employeeg told me that it did'nt matter about me not
having received my antibiotic's for the 4 to 5 days anyway=..because l was

going to lose my (r) finger anyway..¢whether the infection grew worse or not!

l was eventually givne a dosage of what I mistakenly believed to be antibiotic'§
and a pain reliever by Mso Carson around ll p,m on 07/05/l3¢.¢and for reasons
unbeknowest to me,.gl subsequently went into sometype of adverse reaction to

the pills that Msx Carson had administered to me. That night, l could'nt
breathe and my chest felt real tight every time l inhaled a breath of air, I
was so afraid, l actually thougt that I mightdie. So, l got out of my bed and
pushed the "emergency" needs button in my cell to alert the A-3 unit officer
that l needed "emergency" medical service immediately! lt is my firm belief

that FuCil. Gilmer medical staff administered the wrong medications to me at

ll p.mh

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Gn 07/06/13...i am still feeling bad from the allegic reactions from hav-
ing;been given the wrong medications yesterday. l feel nauseous and weak,

due to having been given the wrong medications by prison health servicesv
employee,..Ms. Carson. Hy antibiotic medication, which was necessary to
fight off any gangrene spreading, still had not been re~started as the sur~
gical doctor had ordered. The only thing that prison medical staff are giving
me is my pain medication. l am so afraid that my on-going gangrene infection
is going to travel further up my finger...which might cause me to have to

get more than what was originally necessary amputated off my finger.

07/07/13...1 contacted my family members by phone and shared with them my
pain and suffering. l expressed to them my fears of losing more inches off
finger than what was originally projected by the doctor...simply because
Prison health service employee's at F.C,lo Gilmer won't provide me with the

proper and necessary medical care-that is required for such a serious in»

jury like mine@

07/08/13...91 went to medical services at the prison...and they changed my
bandages. 'No one signed off on or for the antibiotics or pain medication
that l required. So, l then went and informed Warden Purde and Ass. Warden
Kizzeyeh, about the fears that I was having because of the improper medical
treatment l was receiving by their medical staff. Both wardens took my name
and federla register number down on pieces of paper, and infomred me that
they both would take care of the problem of me not receiving the proper medi-

cal treatments; (J. Connelly~Thorpe repeated this same promise as well)

Around Zp.m. this same day...l was called down to the Lt's Office. Once

l got down there, I was subsequently transported out of the institution and
taken to Stonewall dackson Hemorial Hospital for "Emergency" follow-up with
doctor She%§. Dr Sneed somehow verified that F.C.l; Gilmer had actually
been giving me the wrong antibiotic medication than what he had "ordered"

for them to give me..,the medication that he had instructed them to give me
was necessary to prevent the gangrene from spreading..;and since they were'nt

giving it to me...the gangrene had spreaded! Thus, Dr. Sneed had to immediate~

ly admit me into the hospital and schedule me for an immediate surgery to re~
move several inches off my (r) index finger, This could have been prevented,

if l had been given the right antibiotic's as the Doctor had originally ordered!

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On 07/09/13."@Dr“ Sneed performed another "emergency" surgery and removed
about 2 inches from my (r) index`finger,¢.he further gave "new" post-op
treatment instructions== and order more antibiotic's and proper pain medi~
cations,‘.and instructed prison medical staff to administer those exact

medications to me without fail.

0n 07/10/13...“1 couldn'nt sleep at all last night because of being in con»
stanE§ pain. l am very depressed about my having to lose more than what was
necessary of my finger...due and because of negligent medical care and treat~

ment i received at the hands of F¢C¢I. Gilmer's medical personella

07/11/13,,.1 am still having a very rough night in trying to sleepa The

pain medications that F.C;l¢ Gilmer medical staff are giving me is not working.
Because they still are "refusing" to administer to me the correct medications
and pain relievers that the surgical doctor instructed them to give to me.
F.C.la Gilmer medical staff further have even "Refused" to give me something
to keep my hand "elevated" after surgery...thuso..l am unable to adhere to

any of my doctors orders. After screaming at loud in pain for such a long
period of time, _F,C.I, Gilmer medical staff finally relented and gave me a
shot of some unknown pain medication ...and then increased their Tylenol~B
medication for me to take 3 times a day. Note.,that Tylenol~3 is not what the
surgical doctor prescribed for me to be given after my major surgerv= Prison
staff terminated the doctors orders of the proper pain medications, and gave
me what they wantedm%o have,..which they knew would not be adequate enough

to releive my pain so soon after surgery,

0n'07f12/13,¢¢I`am bone tired and extemely aggitated about the lack of con~
cern by the entire prison administration, for me to receive the proper medi~
cal i deserveo Even after I have made my complaints known to the highest level
within the prison ( Warden Purde, Assp Wardens, Health Service Administrator)
nothing has been done.to see that l receive the proper and necessary medical

care for "post surgery" treatment¢

On 07/13/13.,.1 prison health service keep on refusing my request for them
to give me "something" .n"anything" in which l could use to keep my arm or
hand elevated..¢as the doctor instructed...and made clear...that elevation§

of my arm/hand was necessary for proper healing and treatment¢ My gause ban-

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dage that was on the area of my arm where a skin grate was performed has
fell off:,,.prison health service "refused" to give me any more gause or
medical tape to rewrap this open wound. I was thus forced to have to use
toilet tissue and industrial package tape to re-bandage my skin grafe open'
wound area..¢because medical services was closed, Prison staff told me that

their was nothing that they could do for me, and that l should just man~up

and live with the painu

0n 07/14/13...¢1 went to pill line and still couldn't get any help from the
FaC.lu Gilmer medical staff with getting the correct and proper gause bandage
placed on my skin graffe wound. Medical staff refused to change the bandage
period. Furthermore, medical staff simply wrapped some medical tape around

a tongue depressor...gave me one small bandaide gause pad and told me to

go and change my own baudage.

)n 07/15/130.,I went to the pill/sick call line again,..advising health£§
sevice employees that the pain in my arm / hand was getting worse;=.and
that i feared that the infection was getting worse; Prison Health Services

refused_to give me any treatment and Simply said verbally...that they did

not care and to go back to my unit.

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On 07/"|6/13, I went to the prison pill/sick call line and was seen by a Dr.
Anderson. Whom I personally informed about all my severe medical conditions and
unusual pains I‘ve been experiencing in my arm, hand, and fingers. I had informed
Dr. Anderson, that the medications that he had changed fran the original pre-
scription from the surigical doctors Orders----were'nt working! Dr. Anderson did
not take my complaints seriously, and thus he merely advised me to report to sick
call the next work day, which would be Wednesday. . .a day that the sick call line
IS CLOSED!

On 07/17/13, l spoke with prison health service employee, "Hall", and informed
him that I was in great fear of the gangrene spreading further up my finger from the
"non-treatment" that I had been going through at the hands of other medical staff
at the prison heath service department. Mr. Hall told me that he could'nt go against
what the other staff were doing against me illegally, because he has to work with
those very same people. He refused to accept my sick call slip...refused to treat me
. . . .and told me to try getting medical attention some other day! v _

On 07/18/13, I saw and spokde to the Prison Health Service Adnrinistrator, a Mr.
Weaver. I informed him that I needed immediate medical attention for the "nerve"
pain that I continue to have as a direct result of my recent amputation of my finger,
I also requestedto have the skin graf "handage" changed/clean, and further asked him,
if he could please renew my T-3 medication/pain relievers. . ,Mr. Weaver refused to
grant any of my requests. Instead, he cancelled the T-3 medications for pain, and
issued a new prescription called " Neurotins". `

on 07/19/13, 1 again spoke to the nealth service mistrator, nr. weaver, ana
told him that 1 felt like the health service personsll that he is in charge of , was
"retaliating“ .,';agajnst me. . .because I simply desired "proper" and "necessary" medical
treatment for my very serious gangrene amputation of my finger, Mr Weaver was UNMDVED

and completely NON-CARING about what i was reporting to him. . .and simply suggested

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that I report to pill,/ sick call line later on that evening, and make another attempt
for proper medical care with a» different health Care provided I reported to pill
line that evening, as directed by Mrd Weaver_ . land no medication was made available
to me by the health service enployee on dutya n .the retaliations continued!.

On 07/20/13,' I had a very rough night, because of the pain that l was forced
to endure, due to my not being given any medications frozn prison health services the
previous day. I am very nervous and really worried about being refused antibiotic's
and pain medications. How much more of my finger will now have to be further amputated
"before" prison health service staff will give me the "proper" medical care and at-
tention that l deserve as a hmnan being?

011 137/21 --13, prison health service employee "Hall“ was working the pill/sick call
line. 1 tryed.to once again, pick up the correct medications that weren prescribed by
my surgical doctor for pain. But, health service enployee, "Hall", told me that the
"proper" prescribed pain medication was not available to me again, and that l would
just have to go back to my room and beg another inmate for some asperin or something§

)n 0'.7/'22/13, Prison Officials then retaliated agains me for complaining so much
about not receiving my proper medications - and timew me in the S.H.U (segregated-'-
housing),~ under the guise....that they required a totally "secure" envirozm\ent.. .to
ensure that l did not have any fun or drink in my system prior to attending an outside
doctors appointment in the community of Glenville County the next day/moringin. This
illegal lockup in the S.,H .U., IS NOI‘ WHAT IS NORMAILY DONE FOR ANY ]l\lMATE'§ WHG ARE
SCHEDULE FOR A OUTSIDE DOCIORS APPOINTIM].‘ the next day! This actions was done to
specifically punish me for my always complaining about the deliberate indifference
to my medical care ,- that I had been receiving everyday since my injury ocr_:\.u'red-

On 07/'23/13, Correctional officers in the S.H.,IL , approached my cell in a
Angry demeanor. . .yelling & screaming. . .in an attempt to aggravate me prior to es-

corting me out to my outside doctors appointmen with my surgial doctor who had

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amputated my finger after gangrene had set in it, from prison officials having not
given me the proper nedical care "after" my initial surgery.~ Upon my return fran
my surgical doctors post surgery follow~up appoinnnent. Prison health service em-
ployee Mr. Novelty and Health service Administrator-Mr. Weaver,l both tried to force
me to signed some type of legal--medical-release forms! I refused, and they got even
more angry at met

On 97/24/13, I woke up in alot of pain...I am in fear that my finger is becoming
more infected. ., .and 1 fear that 1 will have to make another emergency trip back to the
outside hospital to be seen by my surgical doctor., .. .and possibly be reschedulel for
further amputations of my finger, . .. .due to more gangrene infections. ., .simply because
prison staff have intentionally been refusing me the proper antibiotic‘s that I have
been needing. . .and that were prescribed for me to have ben taking. My skin graf area
is also infected ncle 1' just dont know what else I can dol l _

on 07/ 2~5/13, The health service administrator at F`.c.r, GIIMER, A'l‘renpted to
bully and intimidate me into signing some type of "medical waiver". When l refusedy
he became very rude and hostile,_ and then proceeded to tell me to get cut of his
hospital! I left the prison hospital in pain, because Mr. Weaver refused to treat
mel Thus I am still, very worried that the prison health service staff might now
cause some type of intentional harm against me. .' .by continueing to denie me the
much needed antibiotic“s and pain relievers that I've been requesting for quite
scm'se time.,

On 07/26/13, I woke up this morng feeling very depreseed and in alot of pain
I am still worried and can't understand why prison health service personell continue
to be deliberately indifferent to my medical care and needs for my amputated finger, .,
. .. . .which continues to stay infected . . .simply because they have refused to adminis~

ter the proper antibiotic's that were Ordered by the surgical physician.

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On 07!27/13, I am still having a very hard time with the jerry~rigged/make-
shift "sling" that I had to personally make with torn strips of my sheet...so as
to be able to keep my hand/arm "elevated" as the doctor ordered. F.C.Io GILMER'
prison health service employees "refused" to supply me with a "proper" medical de-
vice of some kind, in which to keep my arm elevated after surgery.,.as the doctor
'had ordered. This "sling" was a necessary part of my medical treatment, to fight
off any furture potential complications with the gangrene infection that was al-
ready in the flesh of my finger/hand,

)n.07/28/13, I am also having a very hard time keeping my "bandages" dry, for
both my amputated finger and the surgical skin graff, F.C.I. health service prison
employees "continue to refuse" to supply me with any type of plastic wrap of some kind;
in which I could use to safely cover up my skin graff bandage and amputated finger
whenever I take a shower. Thus, I am left with know choice, but to continue to get
my bandages wet...which continues to keep the infections getting out of control.,..
couple with now receiving any antibioticsl

On 07/29/13, I went to the prison sick call pill line seeking medical help!
All I received was...negativity from the medical staff...as they were trying.to
force me to go back to work in the prison unicor factory..,without having been re~

leased from the surgical doctors care!

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